Case 6:24-cv-00437-JDK   Document 66-2   Filed 03/17/25   Page 1 of 8 PageID #: 537




                         Exhibit 1
 Case 6:24-cv-00437-JDK      Document 66-2    Filed 03/17/25   Page 2 of 8 PageID #: 538



<DOCUMENT>
<TYPE>N-PX
<SEQUENCE>1
<FILENAME>tm2121856d11_npx.txt
<DESCRIPTION>N-PX
<TEXT>

                                    UNITED STATES
                          SECURITIES AND EXCHANGE COMMISSION
                                WASHINGTON, D.C. 20549

                                      FORM N-PX

                         ANNUAL REPORT OF PROXY VOTING RECORD
                                          OF
                      REGISTERED MANAGEMENT INVESTMENT COMPANIES

INVESTMENT COMPANY ACT FILE NUMBER:           811-2652

NAME OF REGISTRANT:                           VANGUARD INDEX FUNDS

ADDRESS OF REGISTRANT:                        PO BOX 2600, VALLEY FORGE, PA 19482

NAME AND ADDRESS OF AGENT FOR SERVICE:        ANNE E. ROBINSON
                                              PO BOX 876
                                              VALLEY FORGE, PA 19482

REGISTRANT'S TELEPHONE NUMBER, INCLUDING AREA CODE:      (610) 669-1000

DATE OF FISCAL YEAR END:                      DECEMBER 31

DATE OF REPORTING PERIOD:                     JULY 1, 2020 - JUNE 30, 2021

<PAGE>

******************************* FORM N-Px REPORT *******************************
ICA File Number: 81102652E
Reporting Period: 07/01/2020 - 06/30/2021
VANGUARD INDEX FUNDS

Each investment advisor's votes cast are shown separately below. Sections
without an investment advisor listed reflect votes cast at the discretion of the
Fund. The votes reported do not reflect any votes cast pursuant to a regulatory
requirement.




==================== VANGUARD TOTAL STOCK MARKET INDEX FUND ====================
    Case 6:24-cv-00437-JDK   Document 66-2      Filed 03/17/25     Page 3 of 8 PageID #: 539




#       Proposal                                   Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Christopher J. Baldwin      For           For         Management
1.2     Elect Director Ken Parent                  For           For         Management
1.3     Elect Director Robert Steele               For           For         Management
2       Ratify PricewaterhouseCoopers LLP as       For           For         Management
        Auditors
3       Advisory Vote to Ratify Named              For           For         Management
        Executive Officers' Compensation


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BLACK DIAMOND THERAPEUTICS, INC.

Ticker:       BDTX             Security ID: 09203E105
Meeting Date: JUN 18, 2021     Meeting Type: Annual
Record Date: APR 21, 2021

#       Proposal                                   Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Alexander Mayweg            For           For         Management
1.2     Elect Director Rajeev Shah                 For           For         Management
1.3     Elect Director Robert A. Ingram            For           For         Management
2       Ratify PricewaterhouseCoopers LLP as       For           For         Management
        Auditors


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BLACK HILLS CORPORATION

Ticker:       BKH              Security ID: 092113109
Meeting Date: APR 27, 2021     Meeting Type: Annual
Record Date: MAR 08, 2021

#       Proposal                                   Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Linden R. Evans             For           For         Management
1.2     Elect Director Barry M. Granger            For           For         Management
1.3     Elect Director Tony A. Jensen              For           For         Management
1.4     Elect Director Steven R. Mills             For           For         Management
1.5     Elect Director Scott M. Prochazka          For           For         Management
2       Ratify Deloitte & Touche LLP as            For           For         Management
        Auditors
3       Advisory Vote to Ratify Named              For           For         Management
        Executive Officers' Compensation


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BLACK KNIGHT, INC.
    Case 6:24-cv-00437-JDK   Document 66-2     Filed 03/17/25     Page 4 of 8 PageID #: 540



Ticker:       COP              Security ID: 20825C104
Meeting Date: MAY 11, 2021     Meeting Type: Annual
Record Date: MAR 15, 2021

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1a      Elect Director Charles E. Bunch           For           For         Management
1b      Elect Director Caroline Maury Devine      For           For         Management
1c      Elect Director John V. Faraci             For           For         Management
1d      Elect Director Jody Freeman               For           For         Management
1e      Elect Director Gay Huey Evans             For           For         Management
1f      Elect Director Jeffrey A. Joerres         For           For         Management
1g      Elect Director Ryan M. Lance              For           For         Management
1h      Elect Director Timothy A. Leach           For           For         Management
1i      Elect Director William H. McRaven         For           For         Management
1j      Elect Director Sharmila Mulligan          For           For         Management
1k      Elect Director Eric D. Mullins            For           For         Management
1l      Elect Director Arjun N. Murti             For           For         Management
1m      Elect Director Robert A. Niblock          For           For         Management
1n      Elect Director David T. Seaton            For           For         Management
1o      Elect Director R.A. Walker                For           For         Management
2       Ratify Ernst & Young LLP as Auditor       For           For         Management
3       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation
4       Adopt Simple Majority Vote                For           For         Shareholder
5       Emission Reduction Targets                Against       For         Shareholder


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CONSOL ENERGY INC.

Ticker:       CEIX             Security ID: 20854L108
Meeting Date: DEC 29, 2020     Meeting Type: Special
Record Date: NOV 27, 2020

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1       Issue Shares in Connection with Merger    For           For         Management
2       Adjourn Meeting                           For           For         Management


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CONSOL ENERGY INC.

Ticker:       CEIX             Security ID: 20854L108
Meeting Date: APR 28, 2021     Meeting Type: Annual
Record Date: MAR 05, 2021

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1a      Elect Director Sophie Bergeron            For           For         Management
    Case 6:24-cv-00437-JDK   Document 66-2     Filed 03/17/25     Page 5 of 8 PageID #: 541



1b      Elect Director James A. Brock             For           For         Management
1c      Elect Director John T. Mills              For           For         Management
1d      Elect Director William P. Powell          For           For         Management
2       Ratify Ernst & Young LLP as Auditors      For           For         Management
3       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation


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CONSOLIDATED COMMUNICATIONS HOLDINGS, INC.

Ticker:       CNSL             Security ID: 209034107
Meeting Date: APR 26, 2021     Meeting Type: Annual
Record Date: FEB 25, 2021

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1       Elect Director David G. Fuller            For           For         Management
2       Ratify Ernst & Young LLP as Auditors      For           For         Management
3       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation
4       Increase Authorized Common Stock          For           For         Management
5       Declassify the Board of Directors         For           For         Management
6       Approve Issuance of Shares for a          For           For         Management
        Private Placement
7       Amend Omnibus Stock Plan                  For           For         Management


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CONSOLIDATED EDISON, INC.

Ticker:       ED               Security ID: 209115104
Meeting Date: MAY 17, 2021     Meeting Type: Annual
Record Date: MAR 22, 2021

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Timothy P. Cawley          For           For         Management
1.2     Elect Director Ellen V. Futter            For           For         Management
1.3     Elect Director John F. Killian            For           For         Management
1.4     Elect Director Karol V. Mason             For           For         Management
1.5     Elect Director John McAvoy                For           For         Management
1.6     Elect Director Dwight A. McBride          For           For         Management
1.7     Elect Director William J. Mulrow          For           For         Management
1.8     Elect Director Armando J. Olivera         For           For         Management
1.9     Elect Director Michael W. Ranger          For           For         Management
1.10    Elect Director Linda S. Sanford           For           For         Management
1.11    Elect Director Deirdre Stanley            For           For         Management
1.12    Elect Director L. Frederick Sutherland    For           For         Management
2       Ratify PricewaterhouseCoopers LLP as      For           For         Management
    Case 6:24-cv-00437-JDK   Document 66-2     Filed 03/17/25     Page 6 of 8 PageID #: 542



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NACCO INDUSTRIES, INC.

Ticker:       NC                Security ID: 629579103
Meeting Date: MAY 19, 2021      Meeting Type: Annual
Record Date: MAR 24, 2021

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director J.C. Butler, Jr.           For           For         Management
1.2     Elect Director John S. Dalrymple, III     For           For         Management
1.3     Elect Director John P. Jumper             For           For         Management
1.4     Elect Director Dennis W. LaBarre          For           For         Management
1.5     Elect Director Michael S. Miller          For           For         Management
1.6     Elect Director Richard de J. Osborne      For           For         Management
1.7     Elect Director Alfred M. Rankin, Jr.      For           For         Management
1.8     Elect Director Matthew M. Rankin          For           For         Management
1.9     Elect Director Roger F. Rankin            For           For         Management
1.10    Elect Director Lori J. Robinson           For           For         Management
1.11    Elect Director Robert S. Shapard          For           For         Management
1.12    Elect Director Britton T. Taplin          For           For         Management
2       Amend Restricted Stock Plan               For           For         Management
3       Amend Non-Employee Director Restricted    For           For         Management
        Stock Plan
4       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation
5       Ratify Ernst & Young LLP as Auditors      For           For         Management


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NANOSTRING TECHNOLOGIES, INC.

Ticker:       NSTG              Security ID: 63009R109
Meeting Date: JUN 16, 2021      Meeting Type: Annual
Record Date: APR 20, 2021

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1a      Elect Director Elisha W. Finney           For           For         Management
1b      Elect Director Gregory Norden             For           For         Management
1c      Elect Director Janet George               For           For         Management
1d      Elect Director Charles P. Waite           For           For         Management
2       Ratify Ernst & Young LLP as Auditors      For           For         Management
3       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation


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NANTHEALTH, INC.
    Case 6:24-cv-00437-JDK   Document 66-2     Filed 03/17/25     Page 7 of 8 PageID #: 543




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PEABODY ENERGY CORPORATION

Ticker:       BTU              Security ID: 704551100
Meeting Date: MAY 06, 2021     Meeting Type: Annual
Record Date: MAR 11, 2021

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1a      Elect Director Bob Malone                 For           For         Management
1b      Elect Director Samantha B. Algaze         For           For         Management
1c      Elect Director Andrea E. Bertone          For           For         Management
1d      Elect Director William H. Champion        For           For         Management
1e      Elect Director Nicholas J. Chirekos       For           For         Management
1f      Elect Director Stephen E. Gorman          For           For         Management
1g      Elect Director Glenn L. Kellow            For           For         Management
1h      Elect Director Joe W. Laymon              For           For         Management
1i      Elect Director David J. Miller            For           For         Management
1j      Elect Director Michael W. Sutherlin       For           For         Management
1k      Elect Director Darren R. Yeates           For           For         Management
2       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation
3       Ratify Ernst & Young LLP as Auditors      For           For         Management


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PEAPACK-GLADSTONE FINANCIAL CORPORATION

Ticker:       PGC              Security ID: 704699107
Meeting Date: MAY 04, 2021     Meeting Type: Annual
Record Date: MAR 10, 2021

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Carmen M. Bowser           For           For         Management
1.2     Elect Director Susan A. Cole              For           For         Management
1.3     Elect Director Anthony J. Consi, II       For           For         Management
1.4     Elect Director Richard Daingerfield       For           For         Management
1.5     Elect Director Edward A. Gramigna, Jr.    For           For         Management
1.6     Elect Director Peter D. Horst             For           For         Management
1.7     Elect Director Steven A. Kass             For           For         Management
1.8     Elect Director Douglas L. Kennedy         For           For         Management
1.9     Elect Director F. Duffield Meyercord      For           For         Management
1.10    Elect Director Patrick J. Mullen          For           For         Management
1.11    Elect Director Philip W. Smith, III       For           For         Management
1.12    Elect Director Tony Spinelli              For           For         Management
1.13    Elect Director Beth Welsh                 For           For         Management
2       Advisory Vote to Ratify Named             For           For         Management
    Case 6:24-cv-00437-JDK   Document 66-2      Filed 03/17/25     Page 8 of 8 PageID #: 544




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WARNER MUSIC GROUP CORP.

Ticker:       WMG              Security ID: 934550203
Meeting Date: MAR 02, 2021     Meeting Type: Annual
Record Date: JAN 07, 2021

#       Proposal                                   Mgt Rec       Vote Cast   Sponsor
1a      Elect Director Stephen Cooper              For           For         Management
1b      Elect Director Lincoln Benet               For           Against     Management
1c      Elect Director Alex Blavatnik              For           Against     Management
1d      Elect Director Len Blavatnik               For           Against     Management
1e      Elect Director Mathias Dopfner             For           For         Management
1f      Elect Director Noreena Hertz               For           For         Management
1g      Elect Director Ynon Kreiz                  For           For         Management
1h      Elect Director Ceci Kurzman                For           For         Management
1i      Elect Director Thomas H. Lee               For           For         Management
1j      Elect Director Michael Lynton              For           Against     Management
1k      Elect Director Donald A. Wagner            For           Against     Management
2       Ratify KPMG LLP as Auditors                For           For         Management
3       Advisory Vote to Ratify Named              For           For         Management
        Executive Officers' Compensation
4       Advisory Vote on Say on Pay Frequency      Three         One Year    Management
                                                   Years


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WARRIOR MET COAL, INC.

Ticker:       HCC              Security ID: 93627C101
Meeting Date: APR 27, 2021     Meeting Type: Annual
Record Date: MAR 05, 2021

#       Proposal                                   Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Stephen D. Williams         For           For         Management
1.2     Elect Director Ana B. Amicarella           For           For         Management
1.3     Elect Director J. Brett Harvey             For           For         Management
1.4     Elect Director Walter J. Scheller, III     For           For         Management
1.5     Elect Director Alan H. Schumacher          For           Withhold    Management
1.6     Elect Director Gareth N. Turner            For           For         Management
2       Advisory Vote to Ratify Named              For           For         Management
        Executive Officers' Compensation
3       Ratify Ernst & Young LLP as Auditors       For           For         Management


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